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                Exhibit 3
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May 17, 2022


BY EMAIL

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Re:       In re Tether and Bitfinex Crypto Asset Litig.,
          No. 19 Civ. 9236 (KPF) (S.D.N.Y.)


Dear Kyle:

We write on behalf of Defendants iFinex Inc., BFXNA Inc., BFXWW Inc., Tether
Holdings Limited, Tether Limited, DigFinex Inc., Tether Operations Limited, Tether
International Limited, Ludovicus Jan van der Velde and Giancarlo Devasini
(collectively, the “B/T Defendants”) to follow up on our discussion during the
May 11, 2022 meet and confer and to propose a resolution of certain outstanding
issues.

  I.      Custodians & Search Terms

With respect to Plaintiffs’ request to add Stuart Hoegner as a custodian, as we
explained in our May 9 letter and discussed on our May 11 call, including
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Mr. Hoegner as a custodian is problematic because, as General Counsel, most of his
communications are privileged. You noted during our May 11 call that Mr. Hoegner
also communicated with external third parties and that such communications are less
likely to be privileged. As a compromise, the B/T Defendants are willing to add
Mr. Hoegner as a custodian to the extent that we would include in our document
review Mr. Hoegner’s communications that include an external third party – i.e., a
person or entity other than the B/T Defendants and their respective officers,
directors, agents, employees, partners, predecessors, subsidiaries and affiliates.

As we expressed during our May 11 call, the B/T Defendants are disappointed that
Plaintiffs have not made a good faith effort to propose search terms that are tailored
to the issues in this case or conform to the parties’ discussion over the past several
months. Plaintiffs’ list is eleven pages long, single-spaced, and is primarily
comprised of generic words or names. Plaintiffs’ proposed search terms plainly are
not “narrowly tailored to the relevant subject matter and the underlying claims,” as
you represented in your May 6 letter.

Attached to this letter is revised list of search terms, along with a redline comparing
to the list you sent. The B/T Defendants will use this revised list for the purpose of
determining hit counts. To be clear, the inclusion of any search term on this revised
list is not a concession that the search term, or any document containing the search
term, is relevant to the claims and defenses in this case. The B/T Defendants reserve
the right to present further objections to Plaintiffs’ proposed search terms.

  II.      Plaintiffs’ Requests for Production

RFP 2

During the May 11 meet and confer, Plaintiffs agreed to the B/T Defendants’
proposal in our May 9 letter. Accordingly, the B/T Defendants will produce
documents that were produced to the CFTC, DOJ, NYAG and/or SEC that relate to
the following topics:

       Reserves, collateral, and backing (fiat or otherwise) of USDT;

       Accounts/financial institutions in which USDT reserves were deposited or
        held;

       The issuance, authorization, redemption, loaning, gifting, and destruction of
        USDT by the B/T Defendants, including the amount of USDT issued,
        authorized, redeemed, loaned, gifted, and destroyed;

       Accounts, wallets, and blockchain addresses owned by the B/T Defendants,
        including records of all transaction, including withdrawals and deposits;
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      Loans, lines of credit, or agreements for future payment in exchange for
       USDT involving the B/T Defendants;

      Internal and external audits and reports relating to the use of USDT and
       USDT reserves and backing;

      Document retention policies and guidelines; and

      Documents and communications relating to other Defendants, Specified
       Blockchain Addresses, Specified Individuals/Entities, and the Anonymous
       Trader (as those terms are defined in Plaintiffs’ RFPs).

As we have previously discussed, we do not include here any Specified Individuals
or Entities that are B/T Defendants or any Specified Blockchain Addresses owned by
the B/T Defendants.

RFPs 8-10

RFPs 8-10 request “all communications” between the B/T Defendants and any
Individual Defendant, any U.S. Exchange Defendant, and any Crypto Capital
Defendant. At the May 11 meet and confer, both parties agreed to consider a
compromise that would limit the subject matter of the requested communications to
the same topics the parties have agreed to for RFP 2. The B/T Defendants are
willing to agree to that compromise.

RFP 60

As we explained during our May 11 call, Plaintiffs’ proposed revision of RFP 60 in
your May 6 letter still is not tailored in any way to the claims or defenses in this
lawsuit, as it continues to seek “[a]ll documents relating to any agreement, contract,
understanding, undertaking, or any other relationship, formal or informal” between
and among the B/T Defendants, with respect to categories that cover the full range of
the B/T Defendants’ business activities.

As previously agreed in response to the original RFP 60, the B/T Defendants will
produce final written contracts or agreements, to the extent they exist and can be
located after a reasonable search, that name a B/T Defendant as a party, on the one
hand, and any other Defendant (i.e., Bittrex, Poloniex, Crypto Capital, and/or
Reginald Fowler), on the other hand.

RFP 61

The B/T Defendants will produce non-privileged documents, to the extent such
documents exist and can be located after a reasonable search, that relate to the B/T
Defendants’ use of the cryptocommodity exchanges or accounts of any U.S.
Exchange Defendant for the transfer of newly issued USDT, either directly or
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indirectly, from Bitfinex to any U.S. Exchange Defendant. For avoidance of doubt,
this proposal does not include documents related to transfers of USDT by customers
of the B/T Defendants.

RFP 62

The B/T Defendants will produce non-privileged documents, to the extent such
documents exist and can be located after a reasonable search, that relate to any
agreement or arrangement entered into between the B/T Defendants and any U.S.
Exchange Defendant relating to the issuance or transfer of new USDT using any
cryptocommodity exchanges or accounts owned by any U.S. Exchange Defendant.

RFP 63

The B/T Defendants will produce non-privileged documents, to the extent such
documents exist and can be located after a reasonable search, that relate to any
business strategy, plan, or directive of the B/T Defendants relating to the timing of
issuance or transfer of USDT to any U.S. Exchange Defendant for the purchase of
cryptocommodities.

RFPs 64 and 65

As we noted during our May 11 call, the B/T Defendants continue to object to the
scope of RFPs 64 and 65 to the extent they seek communications with
cryptocommodity exchanges other than the U.S. Exchange Defendants.

For revised RFP 64, the B/T Defendants will produce non-privileged
communications with the U.S. Exchange Defendants, to the extent such documents
exist and can be located after a reasonable search, that relate to the issuance or
transfer of USDT.

For revised RFP 65, the B/T Defendants will produce non-privileged
communications with the U.S. Exchange Defendants, to the extent such documents
exist and can be located after a reasonable search, that relate to transfers, collateral,
backing, or reserves of USDT.



Best regards,

/s/ Elliot Greenfield
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In re Tether and Bitfinex    Initial Revision of Plaintiffs’ Proposed Search Terms   5/17/22
Crypto Asset Litigation
Search Term
Tether w/10 transparency
“conflict of interest” or “conflicts of interest”
(2016 w/15 hack*) and reserve*
"Authorized Tokens"
"don't have enough" w/5 (Tether OR USDT)
"Friedman LLP"
"Noble Markets"
"not 1:1"
"not enough" w/5 (tether or USDT)
"not tethered" OR un-tethered
"Potter Ventures"
"Quantifying the Effect of Tether"
("Tether Authorizer" OR Tether) w/5 authorization
"Tether Report"
("USDT" w/5 (equal* OR equat*)) w/15 (USD OR dollar*)
("White paper" w/15 ("USDT" OR Tether OR token*)) w/15 (equat* OR back* OR equal* OR
hold OR dollar* OR bank* OR account* OR fiat OR currenc* OR reserve* OR cash)
“Bitcoin Really Un-Tethered”
“fully back*” and “fully-back*”
“not backed”
(“1:1” OR “one to one”) w/15 (Stablecoin OR “Stable coin” OR token OR “USDT” OR Tether)

((Account*) w/15 (“USDT” OR Tether)) w/15 (reserve*)
(Agreement* OR contract*) w/25 (Bittrex OR Polo*)
Urriola OR (Ana w/2 Pan)
((Bolivar w/2 Jose) w/2 Gonzalez) OR (Bolivar w/2 Gonzalez)
(Burn* OR giv* OR destroy*) w/15 ("USDT" OR Tether OR token)
((Document OR email) w/5 (retain or retention)) w/15 (polic* OR procedur* OR complian*
OR train* OR Manual)
(Investigat* OR inquir* OR Finding* OR report* OR case* OR audit*) w/15 (“New York
AG” OR “New York Attorney General” OR NYAG OR “NY AG” OR “NY Attorney
General” OR "Commodities Futures Trading Commission" OR CFTC OR “Department of
Justice” OR DOJ OR "Exchange Commission” OR SEC)

(Guarant* OR promis* OR assur*) w/15 (“1:1” OR “one to one” OR “1-1” OR tethered OR
redeem* OR exchang*)
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(Inflat* OR spik* OR manipulat* OR stabiliz* OR floor OR Solven* ) w/15 (bitcoin OR
demand OR market* OR customer* OR price* OR valu*)
(Ivan w/2 (Manuel OR Molina OR Lee))
(Print* OR issu* OR creat*) w/15 ("USDT" OR Tether OR token)
(Redeem* OR redempt*) w/5 ("USDT" or Tether OR token)
((Stablecoin OR "Stable coin" OR token OR “USDT” OR Tether) w/15 (equat* OR back* OR
equal*)) w/25 (dollar* OR fiat OR currenc* OR reserve*)
(support w/3 price) w/3 (bitcoin OR BTC)
((Tether OR Bitfinex OR Digfinex) w/15 ("Crypto Capital" OR "Global Trade Solutions"))
w/25 reserve*
(time OR Coordinat*) w/10 (mint* OR issu* OR Poloniex OR Bittrex OR Reggie OR Fowler)
1-to-1*
12cgpFdJViXbwHbhrA3TuW1EGnL25Zqc3P
13vHWR3iLsHeYwT42RnuKYNBoVPrKKZgRv
15ovrfyRTbhqeUkgAqAwtscXDASmietmcJ
16tg2RJuEPtZooy18Wxn2me2RhUdC94N7r
17A 16QmavnUfCW11DAApiJxp7ARnxN5pGX
17sHnqeQcwvfPneJkmaTBAQEnQN82yi7ye
1A6yDZj1241qtGzEeQWRaptxVEhzz5owLP
1A9AUhKv6aLrKGAdwMM9aHXECZM9uQivZK
1AA6
1AA6iP6hrZfYiacfzb3VS5JoyKeZZBEYRW
1AanEM2PU6GS7krwxaysKP3scwb3fdioyE
1CEZ4sjk7MUt3LSJi7bRvvbMZvGLWKCa1G
1Co1dhYDeF76DQyEyj4B5JdXF9J7TtfWWE
1DEcTtkrbdXxS 1wbrMvzub5X4VpByYmAwo
1DUb2YYbQA 1jjaNYzVXLZ7ZioEhLXtbUru
1F6nNgCTLcR4abWuMs 1CHUWYNcnJ47tvbc
1Fdz3iQDDA6mJVoA V4ZcqgVFe1MX97EZoD
1G6jMfQotd6rV8VkMFNx4hPXYHioeBdquf
1H48Bp7EGELgnGSVYKdiCuSo6n822mVmHg
1Hi1hyJpUeETGBTQ 8aPZ69GBL8xBVV53XP
1J1d
1J 1dCYzS 5EerUuJCJ6iJYVPytCMVLXrgM9
1J8fgfPwn4dsxLiA5BnUkzHoubPJ6q5q8g
1KBXtTQnEgU34xXchwvmAoX7o5qZAp3xF
1LJjvsEN9ZzeBVPB4XbhS7mxg99gBAPoMB
1LSgEKji3ZoGdvzBgkcJMej74iBd38fySb
1MZAayfFJ9Kki2cs oYjF VRKHFF SkdoMLtX
1N52wHoVR79PMDishab2XmRHsbekCdGquK
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1NUyryQe1cQYmqg5bjwWNFXA8T1M6htSQ
1PCwER7f57fkPq2kuR9rYV7Wpr1LYvFWsA
1Po1oWkD2LmodfkBYiAktwh76vkF 93LKnh
3D2oetdNuZUqQHPJmcMDDHYoqkyNVsFk9r
Arbitrage
Artific* w/15 (Bitcoin OR “Bitcoin Cash” OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether* OR USDT OR drop* OR crash*)
Back w/5 (tether or USDT)
[Last Name of “Anonymous Trader”]
(Bitfinex w/5 print*) w/5 Tether
Brock w/2 Pierce
Bubble w/15 (bitcoin OR market OR price)
Catastroph* w/15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS
OR Liquid* OR Algo* OR SLP OR Sol* OR Tether* OR USDT OR drop* OR crash*)
(Chris w/2 Ellis) AND (tweet OR twitter)
Conspir* and (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR Algo*
OR SLP OR Sol*)
Control* w/15 (pric* OR BTC OR bitcoin OR flow OR Demand OR Market)
Crash* /15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR Algo* OR
SLP OR Sol*)
Deceit* w/15 (executive* OR CEO OR director* OR CFO OR Velde OR Ardoino OR
Devasini OR Warrack OR Potter)
Declin* /15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR Algo*
OR SLP OR Sol*)
Demand* w/15 (Bitcoin OR BTC OR Liquid* OR artificial OR appearance)
Disconnect* w/15 (Supply OR Demand)
disrupt* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR Algo*
OR SLP OR Sol* )
Downturn* w/15 (Price OR Demand OR Bitcoin OR “Bitcoin Cash” OR BTC OR Omni OR
Eth* OR Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol*)
Fals* w/15 (supply OR demand OR signal)
Fangorn
Fraud* AND USDT
Freeh w/2 Sporkin
Griffin
Illegal* AND (trad* OR manipul* OR inflat*)
Indict* AND (USDT)
Inflat* AND (Bitcoin OR ether OR crypto*)
Insufficient w/5 (Tether OR USDT)
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Loan* w/5 (token OR “USDT” OR Tether)
Manipulat* AND (bitcoin OR ether*) AND USDT
Mint* w/15 ("USDT" OR Tether OR token)
Misrepresent* /15 (asset* OR backing OR reserve OR liquid*)
Monopol*
One-for-one
Oz w/2 Yosef
Peg* w/5 (Tether OR USDT)
Pinchas w/2 (Goldshtein OR Goldstein)
print* w/5 (Tether OR USDT)
Realcoin w/15 (equat* OR back* OR equal*) w/25 (dollar* OR fiat OR currenc* OR
reserve* OR cash)
Reserv* w/15 (cash or liquid or currency or sufficient or insufficient or paper or illiquid)
Reserv* w/5 (Tether or USDT)
(Spike* w/15 (demand or trad* OR price)) w/15 (Bitcoin OR BTC OR Omni OR Eth* OR
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR drop* OR crash*)
Suspicious* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR
Algo* OR SLP OR Sol* OR spike or increase)
Tetherreport.com*
Transfer* w/5 ("USDT" OR Tether)
Un-tether*
Unback*
Unfund*
Untether*
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In re Tether and Bitfinex   Defendants’ Redline of Plaintiffs’ Proposed Search Terms
                                   5/10/225/17/22
Crypto Asset Litigation
Search Term
audit w/20 Tether
Tether w/2010 transparency
Conflict* w/5“conflict of interest” or “conflicts of interest”
(2016 w/15 hack* OR theft* OR unauthorize* OR transfer* OR stolen) and reserve*
"ABT & Trust"
260011499
"Bank of America" OR BofA
898100395306
"Bank of Colorado"
5701063413
"Bank of Montreal"
"Bank of New York Mellon" OR "BNY Mellon"
BnkToTheFuture OR "Bnk to the Future"
"Bank of Communications"
"Banco Portuges de Investimento"
"Bank of the Philippine Islands"
2-5486163.306.001
Spoldzielczy
Kaohsiung
230510006385 OR 230509006380
Bankinter
Caixa
0216076478170 OR 0216076477370 OR 0216076476570 OR 0786071416230 OR
0786071414070 OR 0216076111170 OR 0216075956230 OR 0216076490070
"Canadian Imperial Bank of Commerce" OR CIBC
"CC001006882 5108411" OR "CC001006882 0374016" OR "CC001099702
4464710" OR "CC001099702 4113411" OR "CC001099702 4097513" OR
"CC001099702 4210719"
Cathay
33087700408
Citibank OR Citi
207112962 OR 207129503 OR 207132333 OR 206618910 OR 207139809 OR 207139817 OR
207134933 OR 207132325 OR 207134958 OR 42024768923 OR 42001787749 OR
42024769061 OR 57457749 OR 9945530933 OR 207108689
Deltec
"Deutsche Bank"
DE78660700240057016801 OR DE51660700240057016802 OR 192057016802
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"Enterprise
1127548 Bank"
1127599 OR 1235784 OR 1127652 OR 1127644
"First Commercial Bank"
20386001075
Hwatai
3366000005573
"HSBC Bank" OR "HSBC Securities" OR Pershing
861668 OR 141000147
ING
"JP Morgan Chase" OR JPMC OR Chase
296219550 OR 779558365
KGI
018580071208
"Metropolitan Bank"
"Noble Bank"
"Pekao Bank"
"Sackville Bank and Trust"
Santander
00080753 OR 10379431 OR 10446319 OR 10446322
"Shanghai Pudong Development"
"Signature Bank"
"Stearns Bank"
"Sun Trust"
810455498 OR 209364251 OR 1000211769301
"Shin Kong"
0499128110518
Taishin
068760022865
TCA Investment Bancorp & Trust Company
"TD Bank"
4350649188
"US Bank"
"Wells Fargo" OR WF
2514680467
"@bitfinexed"
"Authorized Tokens"
"bank account" w/5 (Tether or USDT)
"Bitcoin Management Solutions"
"Capital International"
"Capital Treasury"
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"Celsius Network" or Celsius w/5 (invest* or investment*)
"Ching Shan"
"Crypto Capital" OR "Crypto SP. Z.O.O." or "Crypto SP ZOO" OR "Global Trading Solutions"
"Data Nest"
"don't have enough" w/5 (Tether OR USDT)
"El Salvador" OR Salvadoran
"Eligible Contract"
"End of month" or EOM
"Flash Crash"
"Friedman LLP"
"Galaxy Benchmark"
"Galaxy Digital"
"Global trading"
"Global Transaction Services"
"Hong Kong"
"Julius Baer"
"Jump Trading"
"Master Fund LP"
"Mega International"
"Mt. Gox"
"new Tether"
"Noble Markets"
"not 1:1"
"not enough" w/5 (tether or USDT)
"not tethered" OR un-tethered
"Paradise Papers"
"Paycase Financial"
"Potter Ventures"
"Price differential")
"price wall"
"Prosperity Revenue Merchandising"
"Quantifying the Effect of Tether"
"Schneider Wallace"
"Selendy" OR SG OR SGE
"Shyft Network"
"Smart Property Solutions"
("Tether AuthroizerAuthorizer" OR Tether) w/5 authroizationauthorization
"Tether Report"
("USDT" w/5 (equal* OR equat*)) w/15 (USD OR dollar*)
"USDT/USD" w/5 “trading pair”
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"Virgin Islands"
("White paper" w/15 ("USDT" OR Tether OR token*)) w/15 (equat* OR back* OR equal* OR
hold w/25OR dollar* OR bank* OR account* OR fiat OR currenc* OR reserve* OR cash)
"Willy Report" OR "WillyBot"
“Article 78”
“Bitcoin Really Un-Tethered”
“bitcoin”
“cat and mouse”
“company fund*”
“Crypto Capital”
“fully back*” and “fully-back*”
“Global Trade Solutions” or GTS*
“investor relation*”
“not backed”
“price floor”
“private address*”
“realcoin*”
“Smart Property Solutions” or SPS*
("Class action" OR lawsuit) w/5 (Leibowitz OR Goldshtein OR Tether)
("Off exchange" OR "off-exchange" OR private OR "over-the-counter" or "over the counter" or
“OTC”)
w/5 (transaction* OR arrangement*
OR platform*
("Treasury      OR exchange*)
            wallet*" OR "Tether treasury" ) w/15 Bitfinex w/15 (Tether OR "USDT")
(“1:1” OR “one to one”) w/15 (Stablecoin OR “Stable coin” OR token OR “USDT” OR Tether)
(“Know Your Customer” OR "know-your-customer" OR KYC OR "anti-money laundering" OR
AML) w/15 (polic* OR procedur* OR complian* OR train OR Manual OR Notice)

((Account* OR Track* OR monitor* OR maintain*) w/15 (“USDT” OR Tether)) w/15 (dollar*
OR bank* OR account* OR fiat OR currenc* OR valu* OR reserve* OR balance OR
"commercial paper*")

(Account* OR Track* OR monitor* OR maintain*) w/15 (“USDT” OR Tether) w/15
(issu* OR redeem* OR redemption*)
(Agreement* OR contract*) w/25 (Bittrex OR Polo! OR Bitfinex OR Digfinex OR Tether*)
(Ana w/2 Andrea w/2 Urriola w/2 Pan) OR (Ana w/2 Urriola) OR (Ana w/2 Pan)
((Bolivar w/2 Jose) w/2 Gonzalez) OR (Bolivar w/2 Gonzalez)
(Bump* OR Crash* OR Drop* OR Jump* OR Spike* OR Floor) w/15 (price OR value OR
Bitcoin OR BTC)
(Burn* OR giv* OR destroy*) w/15 ("USDT" OR Tether OR token)
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(Data OR email) w/5 host* w/15 (polic* OR procedur* OR complian* OR train* OR
Manual OR Notice)
((Document OR email) w/5 (retain or retention)) w/15 (polic* OR procedur* OR complian* OR
train* OR Manual OR Notice)
(Investigat* OR inquir* OR Finding* OR report* OR case* OR audit*) w/15 ("“New York
AG” OR “New York Attorney General" OR "NY Attorney General" OR "NY Atty General"
OR "NY Att* Gen*"” OR NYAG OR “NY AG”) or ( OR “NY Attorney General” OR
"Commodities Futures Trading Commission" OR “CFTC”) or ("US Dep* of Justice" OR
"U.S. Dep* of Justice" OR "Dep* of Justice" OR DOJ) or ("US Securities Exchange
Comm*" OR "U.S. Securities Exchange Comm*" OR “SEC”) or ("Securities Commission of
the Bahamas" OR "Securities Comm*") OR ("British Virgin Islands Financial Services
Comm*" OR "BVI Financial Services Comm*" OR BVIFSC) OR ("Ontario Securities
Comm*") OR ("Superintendencia del Mercado de Valores de Panama") OR ("Comissão do
Mercado de Valores Mobiliários") OR ("Seychelles Financial Services Authority" OR
“Department of Justice” OR DOJ OR "Exchange Commission” OR SEC)

(Guarant* OR promis* OR assur*) w/15 (“1:1” OR “one to one” OR “1-1” OR tethered OR
redeem* OR exchang* w/25 dollar* OR bank* OR account* OR fiat OR currenc* OR
reserve* OR cash)

(Hamid w/2 Reza) OR (Hamid w/2 Khoyi)
(Inflat* OR capitaliz* OR spik* OR manipulat* OR stabiliz* OR floor OR return* OR
Solven* OR use* ) w/15 (bitcoin OR demand OR market* OR customer* OR price* OR
valu*)
(Investigat* OR inquir*) w/15 ("New York Attorney General" OR "NY Attorney General" OR
"NY Atty General" OR "NY Att* Gen*" OR NYAG OR “NY AG”) or ("Commodities Futures
Trading Commission" OR “CFTC”) or ("US Dep* of Justice" OR "U.S. Dep* of Justice" OR
"Dep* of Justice" OR DOJ) or ("US Securities Exchange Comm*" OR "U.S. Securities
Exchange Comm*" OR “SEC”) or ("Securities Commission of the Bahamas" OR "Securities
Comm*") OR ("British Virgin Islands Financial Services Comm*" OR "BVI Financial
Services Comm*" OR BVIFSC) OR ("Ontario Securities Comm*") OR ("Superintendencia del
Mercado de Valores de Panama") OR ("Comissão do Mercado de Valores Mobiliários") OR
("Seychelles Financial Services Authority")
(Ivan w/2 (Manuel w/2OR Molina w/2OR Lee) OR (Ivan w/2 Molina) OR (Ivan w/2 Lee)
(mov* OR manipulat*) w/10 (price OR Market)
(Print* OR issu* OR creat*) w/15 ("USDT" OR Tether OR token)
(Raise* OR request*) w/5 (prospectus* OR "private placement" OR PPM OR solicit* OR
invest*)
(Redeem* OR redempt*) w/155 ("USDT" or Tether OR token)
((Stablecoin OR "Stable coin" OR token OR “USDT” OR Tether) w/15 (equat* OR back* OR
equal* OR hold*)) w/25 (dollar* OR bank* OR account* OR fiat OR currenc* OR valu* OR
reserve*)
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(support w/3 price) w/3 (bitcoin OR BTC)
((Tether OR Bitfinex OR Digfinex) w/15 ("Crypto Capital" OR "Global Trade Solutions")) w/25
process* OR operat* OR manag* OR transact* OR fiat* OR currencreserve*
(time OR Coordinat*) w/10 (mint* OR issu* OR Poloniex OR Bittrex OR Reggie OR Fowler)
(Track* OR monitor* OR maintain* w/15 polic* OR procedur* OR process* OR “manual
process”)
w/15 ("USDT" OR Tether
OR reserv*
(USDT   OR OR   account*
            Tether)       OR issu*w/15
                     w/5 address*  OR redeem* OR Eth*
                                       (Omni OR   mint*)
                                                       OR Tron OR EOS OR Liquid* OR
Algo* OR SLP OR Sol*)
@bitfinex
@brockpierce
1-to-1*
12cgpFdJViXbwHbhrA3TuW1EGnL25Zqc3P
13vHWR3iLsHeYwT42RnuKYNBoVPrKKZgRv
15ovrfyRTbhqeUkgAqAwtscXDASmietmcJ
16tg2RJuEPtZooy18Wxn2me2RhUdC94N7r
17A 16QmavnUfCW11DAApiJxp7ARnxN5pGX
17sHnqeQcwvfPneJkmaTBAQEnQN82yi7ye
19-cv-09236*
19-mc-00022*
1A6yDZj1241qtGzEeQWRaptxVEhzz5owLP
1A9AUhKv6aLrKGAdwMM9aHXECZM9uQivZK
1AA6
1AA6iP6hrZfYiacfzb3VS5JoyKeZZBEYRW
1AanEM2PU6GS7krwxaysKP3scwb3fdioyE
1CEZ4sjk7MUt3LSJi7bRvvbMZvGLWKCa1G
1Co1dhYDeF76DQyEyj4B5JdXF9J7TtfWWE
1DEcTtkrbdXxS 1wbrMvzub5X4VpByYmAwo
1DUb2YYbQA 1jjaNYzVXLZ7ZioEhLXtbUru
1F6nNgCTLcR4abWuMs 1CHUWYNcnJ47tvbc
1Fdz3iQDDA6mJVoA V4ZcqgVFe1MX97EZoD
1G6jMfQotd6rV8VkMFNx4hPXYHioeBdquf
1GjgKbj69hDB7YPQF9KwPEy274jLzBKVLh
1H48Bp7EGELgnGSVYKdiCuSo6n822mVmHg
1Hi1hyJpUeETGBTQ 8aPZ69GBL8xBVV53XP
1J1d
1J 1dCYzS 5EerUuJCJ6iJYVPytCMVLXrgM9
1J8fgfPwn4dsxLiA5BnUkzHoubPJ6q5q8g
1KBXtTQnEgU34xXchwvmAoX7o5qZAp3xF
1Kr6QSydW9bFQG 1mXiPNNu6WpJGmUa9i1g
     Case 1:19-cv-09236-KPF Document 220-3 Filed 07/28/22 Page 16 of 20




1KYiKJEfdJtap9QX2v9BXJMpz2SfU4pgZw
1LJjvsEN9ZzeBVPB4XbhS7mxg99gBAPoMB
1LSgEKji3ZoGdvzBgkcJMej74iBd38fySb
1MZAayfFJ9Kki2cs oYjF VRKHFF SkdoMLtX
1N52wHoVR79PMDishab2XmRHsbekCdGquK
1NTMakcgVwQpMdGxRQnFKyb3G 1FAJys Sfz
1NUyryQe1cQYmqg5bjwWNFXA8T1M6htSQ
1PCwER7f57fkPq2kuR9rYV7Wpr1LYvFWsA
1Po1oWkD2LmodfkBYiAktwh76vkF 93LKnh
20-mc-00063*
20-mc-00446*
20-mi-00042*
20-ms-00033*
3BbDtxBSjgfTRxaBUgR2JACWRukLKtZdiQ
3D2oetdNuZUqQHPJmcMDDHYoqkyNVsFk9r
3MbYQMMmSkC3AgWkj9FMo5LsPTW1zBTwXL
Adam w/2 Chamely
agree w/15 (flow OR USDT OR Tether OR mint* OR issu* OR Poloniex OR Bittrex OR Reggie
OR Fowler)
AML
Amy w/2 Churchill
Anti-money
Arbitrage
Aron w/2 Camponovo
Artific* w/15 (Bitcoin OR “Bitcoin Cash” OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether!* OR USDT OR drop!* OR crash!*)
Audit*
Back w/5 (tether or USDT)
Backfill*
Berda [Last Name of “Anonymous Trader”]
Betts
Binance
Binance
Bitcointalk*
(Bitfinex w/5 print*) w/5 Tether
Bitfinex'ed
Bitlicense
Bittrex
Bjorn w/3 Wolf
Bloat*
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Blockchain.com
Blockchain.info*
Brock
Brock w/2 Pierce
Bubble
Bybit
callBubble w/315 (mebitcoin OR youmarket OR price)
Catastroph* w/15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether!* OR USDT OR drop!* OR crash!*)
CC
CCC
CEA
CFTC
(Chris w/2 Ellis) AND (tweet OR twitter)
CoinAPI
Coinbase
Coindesk
CoinDesk*
Coinmarketcap.com*
Commingl*
Commission*
Conspir* and (Bitcoin OR Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR
EOS OR Liquid* OR Algo* OR SLP OR Sol* OR Tether*)
Control* w/15 (pric* OR BTC OR bitcoin OR flow OR Demand OR Market)
Control* w/15 Bitfinex w/15 (Tether OR "USDT")
Crash* /15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid*
OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
Crypto.com
Crypto* w/15 future*
CryptoCapital
D'Amico
Daniel w/2 Barrs
Dash*
Debas*
Deceit* w/15 (executive!* OR CEO OR director!* OR CFO OR Velde OR Ardoino OR Devasini
OR Warrack OR Bitfinex! OR Potter)
Declin* /15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
Defraud*
Delist*
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Demand* w/15 (Bitcoin OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid* OR
Tether!artificial OR USDT OR artificial or appearance)
Destroy* OR Destruct*
DFS
Disconnect* w/15 (Supply orOR Demand)
disrupt* w/15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
DOJ
Downturn* w/15 (Price OR Demand OR Bitcoin OR “Bitcoin Cash” OR BTC OR Omni OR
Eth* OR Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT )
Drop* /15 (Price OR Demand OR Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR
Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR drop! OR
crash!)
Epay* /15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR Liquid*
OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR drop! OR crash!)
Ethereum* AND USDT
EURT*
Fals* w/15 (supply orOR demand orOR signal)
Fangorn
Fines /15 (regulat* or FTC or "Attorney General" or CFTC)
Fowler*
Fraud* AND USDT
Freeh w/2 Sporkin
FTX
Gemini
Gerald w/2 Martinez
Giancarlo OR Devasini
Griffin
Hack*
Heisenberg
https://tether.to/en/tether-update
https://tether.to/en/transparency
https://tether.to/faqs/
Huobi
Huobi
Hwatai
Illegal* AND (trad* OR manipul* OR inflat*)
Indict* AND (crypto* OR USDT)
Inflat* AND (Bitcoin OR ether OR crypto*)
Insufficient w/5 (Tether OR USDT)
Investigat!
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IOU
Jail
Kraken
Kraken
KuCoin
Launder*
Leibowitz
Liquid* and Illiquid* OK TO ELIMINATE
Litecoin*
Loan
Loan AND USDT
Loan* w/155 (token OR “USDT” OR Tether)
LOC
Ludovicus OR Velde
Manipulat* AND (bitcoin OR ether!*) AND USDT
MC-20-00018*
Merlin*
MEXC
Michael w/2 Novogratz
Mint* w/15 ("USDT" OR Tether OR token)
Misrepresent* /15 (asset* orOR backing orOR reserve orOR liquid*)
Monero*
Monopol*
New w/5 (Tether OR USDT)One-for-one
Nocoin*
OKEx
Oliver w/2 Camponovo
Omniexplorer.info*
One-for-oneOz w/2 Yosef
Org* w/5 (chart OR structure)
Oz w/2 Yosef
Peg* w/5 (Tether OR USDT)
Pinchas w/2 (Goldshtein OR Goldstein)
Poloniex
Ponzi
Potter*
Print w/3 money
print* w/5 (Tether or USDT)
prop* w/3 up*
Pump*
     Case 1:19-cv-09236-KPF Document 220-3 Filed 07/28/22 Page 20 of 20




Purchasprint* w/5 (Tether OR USDT)
Realcoin w/15 (equat* OR back* OR equal*) w/25 (dollar* OR bank* OR account*
OR fiat OR currenc* OR reserve* OR cash)
Reggie OR Reginald OR Fowler
Releas* w/5 (Tether OR USDT)
Reserv* w/15 (cash or liquid or currency or sufficient or insufficient or paper or illiquid)
Reserv* w/5 (Tether or USDT)
Roche OR RCF OR RF
Scam* /15 (USDT or Tether)
SEC
Skyrocket*
(Spike* w/15 (demand or trad* OR price or )) w/15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni
OR Eth* OR Tron OR EOS OR Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR
drop!* OR crash!*)
Spoldzielczy
Suspicious* w/15 (Bitcoin OR Bitcoin Cash OR BTC OR Omni OR Eth* OR Tron OR EOS OR
Liquid* OR Algo* OR SLP OR Sol* OR Tether! OR USDT OR spike or increase)
Tether w/2 (Pull* OR Push*)
Tether* w/3 ("Bank Account")
tetherreportTetherreport.com*
Tokenised or tokenized
TOPSUN
Trade* w/5 (Strategy OR Pattern)
Transfer* w/155 ("USDT" OR Tether OR token)
Transparen*
Un-tether*
Unauthorize*
Unback*
Undisclos * /15 (relationship or connection or tie* or arrangement)
Unfund*
UnilateralUntether*
Unpredictabl*
Untether*
UpBit
Wash
Whalepool*
XT.com
Zcash*
